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                 UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                 Criminal No. 09-cr-140-06-JL

Lindsay Miron

                                O R D E R

     Defendant appeared for a bail revocation hearing pursuant to

18 U.S.C. § 3148.    Defendant tested dirty for cocaine in

November, admitted use in December, missed counseling and

doctors’ appointments and left the drug treatment facility.

Given the number of failed opportunities to comply with

conditions I find that the defendant is unlikely to abide by any

condition or combination of conditions.        The conditions of

release are revoked.

     Accordingly, it is ORDERED that the defendant be detained

pending trial.

     The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.    The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel.                 On
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order of a court of the United States or on request of an

attorney for the government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

      SO ORDERED.

                                   ___________________________________
                                   James R. Muirhead
                                   United States Magistrate Judge

Date: April 22, 2010

cc:   Michael J. Sheehan, Esq.
      Jennifer C. Davis, Esq.
      U.S. Marshal
      U.S. Probation




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